Case 1:21-cv-22645-KMM Document 14 Entered on FLSD Docket 10/21/2021 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 1:21-CV-22645-KMM

  VICTOR ARIZA,

         Plaintiff,

  vs.

  CAROLINA K. INC., a Florida
  for-profit corporation,

        Defendant.
  ________________________________/

                      JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
         Plaintiff VICTOR ARIZA ("Plaintiff"), and Defendant CAROLINA K. INC. ("Defendant")
  (Plaintiff and Defendant are collectively, the "Parties"), by and through their respective undersigned
  attorneys, and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby stipulate
  to a dismissal of all of Plaintiff's claims in the action with prejudice. The Parties shall bear their own
  attorneys' fees, costs, and expenses. All Parties consent to the form and content of this Stipulation.

         Dated: October 21, 2021

         Respectfully submitted,

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  By____s/ Roderick V. Hannah __                        By ___s/ Pelayo M. Duran ______
        RODERICK V. HANNAH                                    PELAYO M. DURAN
        Fla. Bar No. 435384                                   Fla. Bar No. 0146595
Case 1:21-cv-22645-KMM Document 14 Entered on FLSD Docket 10/21/2021 Page 2 of 2




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